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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Northern District
                                             __________  DistrictofofCalifornia
                                                                      __________


           E.Y. OROT ASSETS LTD. ET AL                         )
                             Plaintiff                         )
                                v.                             )      Case No.     3:24-cv-03836-JCS
                DIAMOND FOUNDRY INC.                           )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendant Diamond Foundry Inc.                                                                               .


Date:        July 18, 2024                                                               /s/ Jeffrey E. Tsai
                                                                                         Attorney’s signature


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